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                               CITY OF BURIEN, WASHINGTON

                              ORDINANCE NO. 818
______________________________________________________________________________

        AN ORDINANCE OF THE CITY OF BURIEN, WASHINGTON, CREATING AN ANTI-
        CAMPING OR ANTI-DWELLING ORDINANCE IN BURIEN, PROVIDING FOR
        SEVERABILITY, AND ESTABLISHING AN EFFECTIVE DATE.
______________________________________________________________________________

       WHEREAS, on July 17, 2023, during a regular council meeting, the council requested that the
City Manager draft (or have drafted) an anti-camping ordinance for Burien;

       WHEREAS, the council specifically requested that the ordinance be modeled on Bellevue
ordinance 10.06.110;

         WHEREAS, the language in this anti-camping ordinance complies with the Martin v. Boise
and Johnson v. Grants Pass Ninth Circuit decisions in that it does not criminalize people resting,
sleeping, or lying down on public property if there are no shelter beds or spaces available, rather it
sets a reasonable time, and it authorizes the City Manager to set reasonable place and manner
restrictions on resting, sleeping, or lying down on public property;

       WHEREAS, the proposed ordinance below is the requested draft ordinance with a grace or
education period before potential enforcement; and

      NOW, THEREFORE, THE CITY COUNCIL OF THE CITY OF BURIEN, WASHINGTON, DO ORDAIN
AS FOLLOWS:

        Section One. Section 9.85.150, entitled Unlawful Public Camping, of the Burien Municipal
Code, is created and states as follows.

                A. A person is guilty of unlawful public camping if that person uses nonresidential public
       property, as defined in this section, as a temporary or permanent dwelling, lodging, residence, or
       living accommodation, at any time between 10:00 p.m. and 6:00 a.m., except at places set aside
       and posted for such purposes by the Burien City Manager or designee, or by permit issued by the
       Burien City Manager or designee.

               B. For this section, “nonresidential public property” means any street, sidewalk, Burien
       public park, or any other open area where Burien or another governmental agency has a property
       interest, including easements. “Nonresidential public property” does not include apartments,
       houses, or other fixed residential living quarters owned or leased by Burien.

               C. Indicia of camping include but are not limited to bedding, cots, sleeping bags, tents or
       other temporary shelters, personal belongings storage, and cooking equipment use or storage.




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               D. Unlawful public camping is a misdemeanor.

               E. A person is not guilty of unlawful public camping if there is no available overnight
       shelter when the person is on public property. “Available overnight shelter” means a public or
       private shelter with available overnight space, open to individuals experiencing homelessness at
       no charge. If the person cannot utilize an available overnight shelter due to voluntary actions
       such as intoxication, drug use, unruly or assaultive behavior, or violation of shelter rules, the
       overnight shelter space shall still be considered available for this section.

                F. The City Manager shall have the permit authority noted above in addition to the
       emergency authority provided under BMC Chapter 2.75 and any other applicable laws, orders,
       rules, or equivalents.

              G. Given the sensitivity of this matter, the significance and impact of the unhoused, and
       the need to educate and inform the public, including the unhoused, this ordinance will take effect
       on November 1, 2023.

        Section Two. Severability. Should a court of competent jurisdiction find any section,
paragraph, sentence, clause, or phrase of this ordinance, or its application to any person or
circumstance, unconstitutional or otherwise invalid for any reason, or should any portion of this
ordinance be pre-empted by state or federal law or regulation, such decision or pre-emption shall
not affect the validity of the remaining parts of this ordinance or its application to other persons
or circumstances.

         Section Three. Edits. For purposes of this ordinance, additions are underlined, and deletions
are stricken with brackets around the deleted language.

       Section Four. Corrections. The City Clerk and codifiers of the ordinance are authorized to
make necessary corrections to this ordinance, including, but not limited to, the correction of
scrivener/clerical errors, references, ordinance numbering, section/subsection numbers, and any
references thereto.

      Section Five. Effective Date. This ordinance shall be published in Burien’s official
newspaper and take effect on November 1, 2023.

      ADOPTED BY THE CITY COUNCIL OF THE CITY OF BURIEN, WASHINGTON, AT A REGULAR
BUSINESS MEETING THEREOF THIS 25th DAY OF SEPTEMBER, 2023.

                                                         CITY OF BURIEN


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ATTEST/AUTHENTICATED:


________________
______________________________
Heather Dumlao, C
                City Clerk




Approved ass to form
                form:


         _________
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          wsso
Garmon Newsomom II, City Attorney

Filed with the City Clerk: September 13, 2023
Passed by the City Council: September 25, 2023
Ordinance No.: 818
Date of Publication: September 29, 2023




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